
USCA1 Opinion

	










          June 25, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 95-2141

                                    EDWARD LOTHER,

                                Plaintiff, Appellant,

                                          v.

                             GEORGE A. VOSE, JR., ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Edward Lother on brief pro se.
            _____________
            Jeffrey  B. Pine,  Attorney General,  Thomas A.  Palombo,  Special
            ________________                      __________________
        Assistant Attorney General, Department  of Attorney General, and David
                                                                         _____
        J. Gentile, Senior Legal Counsel,  R.I. Department of Corrections,  on
        __________
        brief for appellees.


                                 ____________________


                                 ____________________
                 Per  Curiam.   Having carefully  examined the  record in
                 ___________
















            this  case, we  affirm  the dismissal  of appellant  Lother's

            complaint,  albeit for somewhat  different reasons than those

            articulated below.  

                 First, since both the Morris rules and the Rhode  Island

            Administrative  Procedure Acts  are state  laws,  the alleged

            violation  of either, in and  of itself, is  not a sufficient

            predicate  to  sustain a  damage  action  under federal  law.

            Complaints of such violations therefore should be directed to

            state  court.    Furthermore,  insofar  as   appellant  seeks

            injunctive or  declaratory relief for  alleged violations  of

            the Morris rules, he  is precluded by our prior  holding that

            inmates  may not  bring individual  section 1983  actions for

            injunctive or  declaratory relief which are  based on consent

            decree violations.  See Martel v. Fridovich, 14 F.3d 1, 3 n.4
                                ___ ______    _________

            (1st Cir. 1993).

                 Second,  Lother's allegation that  his being required to

            provide a  urine sample violated his  Fourth Amendment rights

            is without merit.  Urine tests of inmates may be searches for

            Fourth Amendment purposes.   See, e.g., Lucero v.  Gunter, 52
                                         ___  ____  ______     ______

            F.3d 874, 877  (10th Cir.  1995); Forbes v.  Trigg, 976  F.2d
                                              ______     _____

            308,  312 (7th Cir. 1992), cert. denied, 507 U.S. 950 (1993);
                                       _____ ______

            Spence  v.  Farrier,  807  F.2d  753,  755  (8th  Cir. 1986).
            ______      _______

            Prisoners  therefore may have a  right not to  be required to

            submit to  unreasonable requests  for urine tests.   However,

            Lother claims only that  the test in this case  was conducted



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            without a superior officer present.  That fact may indicate a

            violation of  the Morris  rules; standing alone,  however, it

            does not raise Fourth Amendment concerns.

                 Finally, even if we  assume without deciding that Lother

            retains  a  liberty  interest  in preserving  the  good  time

            credits  he  has  earned or  in  not  being  deprived of  his

            visitation  privileges, Lother  has  still  failed to  allege

            sufficient facts to  sustain a  claim that his  right to  due

            process  has  been  violated.     Even  read  liberally,  his

            complaint at  most alleges that the  disciplinary board which

            found him  guilty of  the drug violation  "used inappropriate

            criteria  to  substanciate  [sic] [the]  discipline  report."

            While  due  process  requires  that  a  disciplinary  board's

            finding  of guilt  be  supported by  "some  evidence" in  the

            record, Superintendent, Mass.  Correctional Inst., Walpole v.
                    __________________________________________________

            Hill, 472 U.S.  445, 455-56 (1985),  Lother has only  alleged
            ____

            that the drug test which  led to the challenged  disciplinary

            action was unsupported by  a second test.   Since he has  not

            alleged that the  test itself  was false, he  has not  denied

            that "some evidence" exists to support the board's finding of

            guilt.  

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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